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                     UN ITED STATES D ISTR IC T CO U RT
                                 DISTR ICT O F N EVAD A
 LJNITED STATES OF AM ERICA,                 )
                                             )
                    Plaintiff,               )
                                             )
                                             )       2:10-CR-185-KJD (RJJ)
                                             )
JOSE JESUSCORONA-LARIS,                      )
                                             )
                   Defendant.                )
                      FINAL ORDER OF FORFEITURE AS TO
                     DEFENDANT JO SE JESUS CORONA-LARIS

       On August19,2010,thisCourtentered a Preliminary OrderofForfeiturepursuantto Fed,

R.Crim.P.32.2(b)(l)and(2);andTitle21,UnitedStatesCode,Section853(a)(1)forfeitingproperty
ofdeftndantJOSE JESUS CORONA-LARJS toîheUnited SutesofAmerica;
       IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed.R.Crim . P

32.2(b)(4)(A)and(B)thattheforfeitureofthepropeo namedinthePreliminaryOrderofForfeiture
islinalasto defendantJOSE JESUS CORONA-LARIS..
       DATED this $7 dayofNovember, 20l0.


                                         U NITED STA TES D ISTRICT JU DG E
